               Case 20-02290-dd                           Doc 8      Filed 05/26/20 Entered 05/26/20 17:08:55                      Desc Main
                                                                     Document      Page 1 of 11
 Fill in this information to identify your case:
 Debtor 1               Dellanger Jerome Frazier                                                                       Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2            Daphne Ruff Frazier
 (Spouse, if filing) First Name      Middle Name            Last Name
 United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA                                            Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:                 20-02290-dd
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                          5/19

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                           confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                           applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no
                           objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                           3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                           interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                           Included                    Not Included
              through plan, set out in Section 3.1(c) and in Part 8

 Part 2:       Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:

$1,130.00 per Month for 58 months

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.


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    Debtor                Dellanger Jerome Frazier                                                   Case number
                          Daphne Ruff Frazier

   2.2          Regular payments to the trustee will be made from future income in the following manner:

                Check all that apply:
                         The debtor will make payments pursuant to a payroll deduction order.
                         The debtor will make payments directly to the trustee.
                         Other (specify method of payment):

   2.3 Income tax refunds.
       Check one.
                     The debtor will retain any income tax refunds received during the plan term.

                             The debtor will treat income refunds as follows:

   2.4 Additional payments.
       Check one.
                     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

    Part 3:      Treatment of Secured Claims

   To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
   and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
   claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
   treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
   automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
   secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
   automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
   application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
   provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
   filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
   property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
   and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

   3.1          Maintenance of payments and cure or waiver of default, if any.

                Check all that apply. Only relevant sections need to be reproduced.

                             None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

                             3.1(b) The debtor is in default and will maintain the current contractual installment payments on the secured claims listed below,
                             with any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage
                             payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in
                             the creditor’s allowed claim or as otherwise ordered by the Court.

Insert additional claims as needed.

                             3.1(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                             accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                             between this document and the Operating Order, the terms of the Operating Order control.

                             3.1(d) The debtor proposes to engage in loss mitigation efforts with         according to the applicable guidelines or procedures
                             of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

                             Insert additional claims as needed
                             3.1(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in
                             Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.

                              Insert additional claims as needed

   3.2          Request for valuation of security and modification of undersecured claims. Check one.

                             None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

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 Debtor                Dellanger Jerome Frazier                                                     Case number
                       Daphne Ruff Frazier

                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                                    The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental
                          secured claim listed below, the debtor states that the value of the secured claim should be as set out in the column headed
                          Estimated amount of secured claim. For secured claims of governmental units, unless otherwise ordered by the Court after
                          motion or claims objection filed after the governmental unit files its proof of claim or after the time for filing one has expired, the
                          value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary
                          amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated
                          below.

                                    The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim
                          under Part 5.1 of this plan. If the estimated amount of a creditor’s secured claim is listed below as having no value, the creditor’s
                          allowed claim will be treated in its entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the
                          Court, the amount of the creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this
                          paragraph.

                                    Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent provided by
                          section 1325(a)(5)(B)(i). Unless there is a non-filing co-debtor who continues to owe an obligation secured by the lien, any
                          secured creditor paid the allowed secured claim provided for by this plan shall release its liens at the earliest of the time required
                          by applicable state law, order of this Court, or thirty (30) days from the entry of the discharge.

 Name of               Estimated             Collateral              Value of      Amount of claims Estimated amount            Interest       Estimated
 creditor              amount of                                     collateral    senior to creditor's of secured claim        rate           monthly
                       creditor's                                                  claim                                                       payment to
                       total claim                                                                                                             creditor
                                                                                                                                               (disbursed by
                                                                                                                                               the trustee)

                                             Washing
                                             Machine
 Aaron's               $1,899.97             and Dryer               $800.00                   $0.00              $800.00         5.75%                        $16.00
                                                                                                                                               (or more)
 Auto                                        2005
 Cash of                                     Toyota
 SC                    $4,699.00             Highlander              $2,226.00                 $0.00            $2,226.00         5.75%                        $44.00
                                                                                                                                               (or more)

 Auto                                        2002 Ford
 Money                 $2,500.00             F150                    $842.00                   $0.00              $842.00         5.75%                        $17.00
                                                                                                                                               (or more)

Insert additional claims as needed.

 3.3         Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

      Check one.
                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

                          The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                          which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or
                          security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                          order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured
                          claim in Part 5.1 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid
                          in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be

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                          avoided, provide the information separately for each lien.

                           Choose the appropriate form for lien avoidance

 Name of creditor and                      Estimated      Total of all    Applicable                Value of          Amount of lien        Amount of lien
 description of property                   amount of lien senior/unavoida Exemption and             debtor's          not avoided (to       avoided
 securing lien                                            ble liens       Code Section              interest in       be paid in 3.2
                                                                                                    property          above)

 CREDIT CENTRAL
 SC-02                                                                            1,500.00
                                                                           S.C. Code Ann.
 Household Goods                           $443.00                 $0.00   § 15-41-30(A)(3)            $1,500.00                 0.00                 100%
 Name of creditor and                      Estimated      Total of all    Applicable                Value of          Amount of lien        Amount of lien
 description of property                   amount of lien senior/unavoida Exemption and             debtor's          not avoided (to       avoided
 securing lien                                            ble liens       Code Section              interest in       be paid in 3.2
                                                                                                    property          above)

 QUICK CREDIT                                                                     1,500.00
                                                                           S.C. Code Ann.
 Household Goods                           $512.00           $1,028.00     § 15-41-30(A)(3)            $1,500.00                 0.00                 100%
 Name of creditor and                      Estimated      Total of all    Applicable                Value of          Amount of lien        Amount of lien
 description of property                   amount of lien senior/unavoida Exemption and             debtor's          not avoided (to       avoided
 securing lien                                            ble liens       Code Section              interest in       be paid in 3.2
                                                                                                    property          above)

 SOUTHERN
 FINANCE/SMC                                                                          1,500.00
                                                                               S.C. Code Ann.
 Household Goods                           $585.00                   $443.00   § 15-41-30(A)(3)        $1,500.00                  0.00                      100%

                           Use this for avoidance of liens on co-owned property only.

 Name of               Total equity          Debtor’s equity Applicable          Non-exempt equity Estimated lien            Amount of Amount of lien
 creditor and          (value of             (Total equity   Exemption and       (Debtor's equity                            lien not   avoided
 description           debtor's              multiplied by   Code Section        less exemption)                             avoided(to
 of property           property less         debtor’s                                                                        be paid in
 securing lien         senior/unavoi         proportional                                                                    3.2 above)
                       dable liens)          interest in
                                             property)
 -NONE-


Insert additional claims as needed.

 3.5         Surrender of collateral.

     Check one.
                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                          The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon
                          confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
                          be terminated in all respects. A copy of this plan must be served on all co-debtors. Any creditor who has filed a timely proof of
                          claim may file an amended proof of claim itemizing the deficiency resulting from the disposition of the collateral within a
                          reasonable time after the surrender of the property. Any such amended claim, if allowed, will be treated in Part 5.1 below.

 Name of Creditor                                                                 Collateral
 The Train Auto Sales                                                             2014 Chevrolet Traverse

Insert additional claims as needed.



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                       Daphne Ruff Frazier

 Part 4:      Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
             pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.

             Check box below if there is a Domestic Support Obligation.

                          Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                           a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (state name of
                                        DSO recipient), at the rate of $       or more per month until the balance, without interest, is paid in full. Add
                                        additional creditors as needed.

                           b.           The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                        directly to the creditor.

                           c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                        obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                        of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                        order or a statute.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one



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             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                The debtor estimates payments of less than 100% of claims.
                The debtor proposes payment of 100% of claims.
                The debtor proposes payment of 100% of claims plus interest at the rate of %.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the applicable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

              Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.


             8.1 (a) Mortgage payments to be disbursed by the Trustee (“Conduit”):

             Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:

   Name of Creditor                      Description of Collateral                 Current         Monthly payment to        Estimated             Monthly
                                                                                   installment     cure GAP **               amount of             payment on
                                         (note if principal residence; include     payment         (post-petition mortgage   PRE-PETITION          pre-petition
                                         county tax map number and                 (ongoing        payments for the two      ARREARAGE**           arrearage
                                         complete street address)                  payment         (2) months immediately    (including the
                                                                                   amount) *       following the event       month of filing
                                                                                                   beginning conduit)        or conversion)*




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     Vanderbilt Mortgage                 1293 Counts Sausage Rd Prosperity,
                                            SC 29127                            $757.90         $26.00                    $3,600.00               $62.00
                                                                                Escrow for      Or more                                           Or more
                                         Newberry County                        taxes:
                                                                                 Yes
                                         Parcel ID 463-33-MH11564
                                                                                Escrow for
                                                                                insurance:
                                                                                Yes


             * Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed under FRBP 3002(c) control over
             any contrary amounts above, and any Notice of Payment Change that might be filed to amend the ongoing monthly payment amount.
             ** The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim Attachment and any
             Notice of Payment Change that might be filed to amend the monthly payment amount, but should not be included in the prepetition arrears
             amount.

             All payments due to the Mortgage Creditor as described in any allowed Notice of Post-petition Mortgage Fees, Expenses, and
             Charges under F.R.B.P. 3002.1, filed with the Court, will be paid by the Trustee, on a pro rata basis as funds are available. See the
             Operating Order of the Judge assigned to this case.

             Once the trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1(f), the debtor shall be directly responsible for ongoing mortgage
             payments and any further post-petition fees and charges.

 Part 9:      Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

 X     /s/ Dellanger Jerome Frazier                                            X      /s/ Daphne Ruff Frazier
       Dellanger Jerome Frazier                                                       Daphne Ruff Frazier
       Signature of Debtor 1                                                          Signature of Debtor 2

       Executed on            May 26, 2020                                            Executed on      May 26, 2020

 X     /s/ Eric S. Reed                                                        Date     May 26, 2020
       Eric S. Reed 7242
       Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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                                                               United States Bankruptcy Court
                                                                        District of South Carolina
            Dellanger Jerome Frazier
 In re      Daphne Ruff Frazier                                                                            Case No.   20-02290
                                                                                   Debtor(s)               Chapter    13



                                                                     CERTIFICATE OF SERVICE
I hereby certify that on May 26, 2020, a copy of the Plan was served electronically or by regular United States
mail to all interested parties, the Trustee and all creditors listed below.

 See attached mailing matrix



                                                                                 /s/ Eric S. Reed
                                                                                 Eric S. Reed 7242
                                                                                 Reed Law Firm, P.A.
                                                                                 220 Stoneridge Drive, Ste 301
                                                                                 Columbia, SC 29210
                                                                                 803-726-4888Fax:803-726-4887




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Label Matrix for local noticing         J. Bratton Davis UnitedPage
                                            Document            States 9 of 11         AES/PHEAA
0420-3                                  Bankruptcy Courthouse                          ATTN: BANKRUPTCY
Case 20-02290-dd                        1100 Laurel Street                             1200 NORTH 7TH ST
District of South Carolina              Columbia, SC 29201-2423                        HARRISBURG PA 17102-1419
Columbia
Tue May 26 17:05:51 EDT 2020
AMCOL SYSTEMS, INC.                     ATTORNEY GENERAL OF THE UNITED STATES          Aaron’s
ATTN: BANKRUPTCY                        DEPT OF JUSTICE ROOM 5111                      2810 Main St
PO BOX 21625                            10TH AND CONSTITUTION AVENUE NW                Newberry SC 29108-4134
COLUMBIA SC 29221-1625                  Washington DC 20530-0001


Auto Cash of SC                         (p)AUTOMONEY INC                               (p)CAINE & WEINER COMPANY
2312 E Trinity Mills Road               ATTN ABIGAIL SCUDDER DUFFY                     12005 FORD ROAD 300
Carrollton TX 75006-1953                450 MEETING ST                                 DALLAS TX 75234-7262
                                        CHARLESTON SC 29403-5522


CREDIT CENTRAL SC-02                    Cash Net USA                                   Consumer Portfolio
1725 MAIN STREET                        PO Box 206739                                  PO Box 57021
NEWBERRY SC 29108-3557                  Dallas TX 75320-6739                           Irvine CA 92619-7021



DIVERSIFIED CONSULTANTS, INC.           ERC/ENHANCED RECOVERY CORP                     (p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP
ATTN: BANKRUPTCY                        ATTN: BANKRUPTCY                               ATTN ROBERT ZAYAC
PO BOX 551268                           8014 BAYBERRY ROAD                             40 MARIETTA ST SUITE 300
JACKSONVILLE FL 32255-1268              JACKSONVILLE FL 32256-7412                     ATLANTA GA 30303-2812


FINANCIAL DATA SYSTEMS                  First Premier Bank                             IRS
1683 MILITARY CUTOFF RD                 3820 North Louise Avenue                       PO Box 7346
WRIGHTSVILLE BEACH NC 28403-5717        Sioux Falls SD 57107-0145                      Philadelphia PA 19101-7346



JEFFERSON CAPITAL SYSTEMS, LLC          Lexington County Hospital                      Local Management
PO BOX 1999                             PO Box 21808                                   2038 Bear Village Ct
SAINT CLOUD MN 56302                    Columbia SC 29221-1808                         Newberry SC 29108-2200



NEWBERRY COUNTY ASSESORS OFFICE         Newberry City Hospital                         PARAGON REVENUE GROUP
PO BOX 206                              2669 Kinard St                                 ATTN: BANKRUPTCY
Newberry SC 29108-0206                  Newberry SC 29108-2932                         216 LE PHILLIP CT NE
                                                                                       CONCORD NC 28025-2954


(p)PMAB LLC                             QUICK CREDIT                                   RMC
4135 SOUTH STREAM BLVD SUITE 400        1301 MAIN STREET                               ATTN: BANKRUPTCY
CHARLOTTE NC 28217-4636                 Newberry SC 29108-3429                         PO BOX 50685
                                                                                       COLUMBIA SC 29250-0685


RSI EAST                                SC DEPARTMENT OF REVENUE                       (p)SC DEPARTMENT OF EMPLOYMENT AND WORKFORCE
ATTN: BANKRUPTCY                        PO BOX 12265                                   PO BOX 8597
1325 GARNER LANE STE C                  Columbia SC 29211-2265                         COLUMBIA SC 29202-8597
COLUMBIA SC 29210-8327
                    Case 20-02290-dd           Doc 8      Filed 05/26/20           Entered 05/26/20 17:08:55            Desc Main
SECURITY CHECK                                         (p)SOUTHERN
                                                          Document MANAGEMENTPage 10 of 11                  Sensible Auto Lending
ATTN: BANKRUPTCY DEPT                                  PO BOX 1947                                          275 Middleson Turnpike
2612 JACKSON AVE W                                     GREENVILLE SC 29602-1947                             Old Saybrook CT 06475-4209
OXFORD MS 38655-5405


The Train Auto Sales                                   US ATTORNEYS OFFICE                                  US Department of Veterans Affairs
501 A N Main St                                        JOHN DOUGLAS BARNETT ESQ                             PO Box 530269
Mauldin SC 29662-2307                                  1441 MAIN STREET                                     Atlanta GA 30353-0269
                                                       STE 500
                                                       Columbia SC 29201-2897

US Department of Veterans Affairs                      USDA                                                 United Acceptance
PO Box 8079                                            PO BOX 66827                                         2900 Lake Park Dr
Philadelphia PA 19101-8079                             Saint Louis MO 63166-6827                            Ste 100
                                                                                                            Smyrna GA 30080


VANDERBILT MORTGAGE                                    VERIZON WIRELESS                                     Daphne Ruff Frazier
ATTN: BANKRUPTCY                                       ATTN: VERIZON WIRELESS BANKRUPTCY ADMINI             1293 Counts Sausage Rd
PO BOX 9800                                            500 TECHNOLOGY DR, STE 550                           Prosperity, SC 29127-8213
MARYVILLE TN 37802-9800                                WELDON SPRING MO 63304-2225


Dellanger Jerome Frazier                               Eric S Reed                                          Pamela Simmons-Beasley
1293 Counts Sausage Rd                                 Reed Law Firm, PA                                    250 Berryhill Road
Prosperity, SC 29127-8213                              220 Stoneridge Dr., Suite 301                        Suite 402
                                                       Columbia, SC 29210-8018                              Columbia, SC 29210-6466


US Trustee’s Office
Strom Thurmond Federal Building
1835 Assembly Street
Suite 953
Columbia, SC 29201-2448



                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Auto Money                                             CAINE & WEINER                                       FHA c/o
930 Wilson Rd                                          ATTN: BANKRUPTCY                                     US Dept of Housing & Urban Development
Newberry SC 29108                                      PO BOX 5010                                          451 7th Street, SW
                                                       WOODLAND HILLS CA 91365                              Washington DC 20410


PMAB, LLC                                              SC EMPLOYMENT SECURITY COMMISION                     SOUTHERN FINANCE/SMC
PO BOX 12150                                           PO BOX 995                                           150 EXECUTIVE CENTER DRIVE
CHARLOTTE NC 28220                                     Columbia SC 29202                                    GREENVILLE SC 29615



End of Label Matrix
Mailable recipients      45
Bypassed recipients       0
Total                    45
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                           Document     Page 11 of 11
